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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                               3/4/24
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IN RE EX PARTE APPLICATION OF SPS I
FUNDO DE INVESTIMENTO DE
ACOES – INVESTIMENTO NO                                                   22-mc-00118 (LAK)
EXTERIOR

------------------------------------------x


                                   MEMORANDUM OPINION


                             Appearances:


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LEWIS A. KAPLAN, District Judge.

               This matter is before the Court on the amended application of SPS I Fundo de

Investimento de Ações – Investimento no Exterior (“SPS” or “Petitioner”) for discovery from The

New York Branch of Barclays Bank PLC (“Barclays NY” or “Respondent”) pursuant to 28 U.S.C.

§ 1782 for use in a contemplated Brazilian legal proceeding.1 Specifically, SPS seeks discovery


       1

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regarding transactions by four companies through the intermediation of the services provided by

Respondent, which SPS believes may evidence an alleged international corruption scheme led by

the controlling shareholders of Brazilian corporation JBS S.A. (“JBS”). SPS, which owns a minority

stake in JBS, intends to use this discovery in a draft complaint that it plans to file with Brazil’s

securities and exchange commission (the Comissão de Valores Mobiliários or “CVM”). The

controlling shareholders of JBS, the Batista Family, along with their majority-owned companies JBS

and J&F Investimentos (“J&F” and, together with JBS and the Batista Family, “Intervenors”),

oppose the amended application.2

               The Court assumes familiarity with the facts and procedural history of this case, which

are recounted in a prior opinion and the parties’ memoranda.3

               Briefly, in April 2022, this Court granted SPS’s ex parte application for Section 1782

discovery from respondent banks J.P. Morgan Chase Bank, N.A. and Barclays USA, Inc. In June

of that year, Intervenors moved to vacate the Court’s order and to quash the subpoenas served on the

respondents. The Court denied Intervenors’ motion as to J.P. Morgan Chase Bank, N.A. and granted

it without prejudice to an amended application as to Barclays USA, Inc. on the ground that the Court

lacked personal jurisdiction over the Barclays entity.4 Petitioner then filed the amended application

for Section 1782 discovery from Barclays NY that now is before the Court.




       2

               Dkt 56.
       3

               Dkts 34, 48, 56, 63.
       4

               Dkt 34 at 7.
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                                        Discussion

        This Court explained previously5:

                “Section 1782 authorizes federal district courts to order discovery in aid

        of proceedings before a foreign tribunal. This authorization from Congress has two

        primary goals: promoting respect for foreign governments by assisting their tribunals

        and thereby encouraging reciprocal assistance.6 To that end, the Supreme Court and

        the Court of Appeals have instructed district courts to take a ‘hospitable view’7 of

        Section 1782 discovery, the availability of which ‘is quite broad and only has

        broadened through successive amendments over the years.’8

                To obtain discovery under Section 1782, a party must establish three statutory

        prerequisites: (1) the person or entity from whom discovery is sought ‘resides’ or is

        ‘found’ in the district where the application is made; (2) the requested material is ‘for

        use’ in a proceeding before a foreign tribunal; and (3) ‘the application is made by a

        foreign or international tribunal or any interested person.’9 Once these requirements

        are met, district courts may grant discovery after taking into consideration the


5

        The original footnote citations have been cleaned up.
6

        ZF Auto. US, Inc. v. Luxshare, Ltd., 596 U.S. 619, 632 (2022).
7

        In re Ex Parte Application of Porsche Automobil Holding SE for an Ord. Pursuant to 28
        U.S.C. § 1782 Granting Leave to Obtain Discovery for Use in Foreign Proc., No. 15-MC-417
        (LAK), 2016 WL 702327, at *2 (S.D.N.Y. Feb. 18, 2016).
8

        In re Accent Delight Int’l Ltd., 869 F.3d 121, 134 (2d Cir. 2017).
9

        IJK Palm LLC v. Anholt Servs. USA, Inc., 33 F.4th 669, 675 (2d Cir. 2022) (quoting
        Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012)).
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     discretionary factors set forth in Intel v. Advanced Micro Devices, Inc.10[:]

     ....

             (1) Whether the ‘person from whom discovery is sought is a participant in

             the foreign proceeding,’ in which case ‘the need for § 1782(a) aid generally

             is not as apparent’ because a foreign tribunal presumably has authority to

             order discovery on its own;

             (2) ‘[T]he nature of the foreign tribunal, the character of the proceedings

             underway abroad, and the receptivity of the foreign government or the court

             or agency abroad to U.S. federal-court judicial assistance’;

             (3) Whether the discovery request ‘conceals an attempt to circumvent foreign

             proof-gathering restrictions or other policies of a foreign country or the

             United States’; and

             (4) Whether the requests are unduly intrusive or burdensome.11

     Courts exercising their discretion must consider also ‘the twin aims of the statute,

     namely, providing efficient means of assistance to participants in international

     litigation in our federal courts and encouraging foreign countries by example to

     provide similar means of assistance to our courts.’12”13


10

     542 U.S. 241 (2004).
11

     Id. at 264–65.
12

     Certain Funds, Accts. and/or Inv. Vehicles v. KPMG, L.L.P., 798 F.3d 113, 117 (2d Cir.
     2015) (internal quotation marks omitted).
13

     Dkt 34 at 4–5, 16.
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                Here, Intervenors contend that SPS has failed to meet all three statutory factors as to

Barclays NY. They argue further that all four of the discretionary Intel factors weigh against the

requested discovery. For the reasons explained below, the Court rejects Intervenors’ contentions and

grants SPS’s amended application.


I.      Statutory Factors

        A.      Barclays NY Is Found in This District

                To be subject to Section 1782 discovery, a person must “reside[]” or be “found” in the

district in which discovery is sought.14 “[Section] 1782’s ‘resides or is found’ language extends to the

limits of personal jurisdiction consistent with due process.”15 Due process permits courts to exercise

either general or specific personal jurisdiction over a person depending on the nature of her contacts

with the forum.16 Petitioner contends that Barclays NY is subject to both this Court’s general and

specific personal jurisdiction.

                “[A] court’s general jurisdiction . . . is based on the defendant’s general business

contacts with the forum . . . and permits a court to exercise its power in a case where the subject matter

of the suit is unrelated to those contacts.”17 A corporation is subject to general jurisdiction only in a

state in which it is incorporated or has its principal place of business.18 Barclays NY is incorporated

        14

                28 U.S.C. § 1782(a).
        15

                In re del Valle Ruiz, 939 F.3d 520, 528 (2d Cir. 2019).
        16

                See In re Terrorist Attacks on Sept. 11, 2001, 714 F.3d 659, 673–74 (2d Cir. 2013).
        17

                Id. at 674 (internal quotation marks omitted) (second alteration in original).
        18

                See Gucci Am., Inc. v. Weixing Li, 768 F.3d 122, 135 (2d Cir. 2014) (citing Daimler AG v.
                Bauman, 571 U.S. 117, 139 (2014)); see also Daimler AG, 571 U.S. at 139 n.19 (“We do not
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in the United Kingdom.19 And, according to Intervenors’ uncontradicted account, Barclays NY’s

principal place of business is not in New York.20 As a result, Barclays NY is not subject to this

Court’s general personal jurisdiction.

                 “[S]pecific jurisdiction is confined to adjudication of issues deriving from, or

connected with, the very controversy that establishes jurisdiction.”21 The exercise of specific personal

jurisdiction is consistent with due process where a person has “sufficient ‘minimum contacts’ with the

forum and [exercising] jurisdiction [does] ‘not offend traditional notions of fair play and substantial

justice.’”22 The minimum contacts analysis focuses on whether the party over whom jurisdiction is

sought (1) “has purposefully directed his activities at . . . the forum” and (2) “the litigation . . . arise[s]

out of or relate to those activities.”23 In the context of Section 1782, “the discovery material sought

[must have] proximately resulted from the respondent’s forum contacts.”24


                 foreclose the possibility that in an exceptional case . . . a corporation’s operations in a forum
                 other than its formal place of incorporation or principal place of business may be so
                 substantial and of such a nature as to render the corporation at home in that State.” (citation
                 omitted)).
        19

                 Dkt 57-1.
        20

                 Dkt 56 at 8.
        21

                 Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011) (internal
                 quotation marks omitted).
        22

                 Spetner v. Palestine Inv. Bank, 70 F.4th 632, 644–45 (2d Cir. 2023) (quoting Int’l Shoe Co.
                 v. State of Wash., Off. of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945)).
        23

                 Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985) (internal quotation marks
                 omitted).
        24

                 In re del Valle Ruiz, 939 F.3d at 530 (“[T]he respondent’s having purposefully availed itself
                 of the forum must be the primary or proximate reason that the evidence sought is available
                 at all. On the other hand, where the respondent’s contacts are broader and more significant,
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                Intervenors focus on the second, or “nexus,” prong of the minimum contacts

requirement. They contend that a suspicious activity report (“SAR”) “purportedly prepared by

Barclays NY,” which is “the only connection SPS can point to between Barclays NY and the discovery

sought,” is insufficient because it is not genuine.25 This argument is irrelevant. As Petitioner explains,

its burden is to “show that Barclays NY’s forum contacts have a causal relationship with the

documents SPS wants Barclays NY to produce, not with the documents [i.e., the SAR] that prompted

SPS to request that production in the first place.”26

                Petitioner argues persuasively that Barclays NY’s extensive contacts in the State of

New York gave rise to the discovery materials it seeks in its amended application.27 It explains,

“Barclays NY’s actions in this district as correspondent or intermediary bank responsible for

completing US dollar denominated wire transfers passing to and from Barclays UK Wealth and

reporting . . . when those transfers evidenced suspicious activity are the but for and proximate cause

of the discovery SPS seeks.”28 The Court therefore holds that it has specific personal jurisdiction over

Barclays NY because the documents sought by the amended application resulted from the

correspondent banking services Barclays NY provides from New York.




                a petitioner need demonstrate only that the evidence sought would not be available but for
                the respondent’s forum contacts.”).
        25

                Dkt 56 at 11.
        26

                Dkt 63 at 3.
        27

                Dkt 48 at 10.
        28

                Dkt 48 at 23.
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        B.      Remaining Statutory Factors

                Intervenors are collaterally estopped from contesting the remaining statutory factors

by this Court’s prior order finding that both factors are satisfied.29 “[T]he identical issue was raised

in a previous proceeding” before this Court, the issue was litigated and the Court decided it,

Intervenors “had a full and fair opportunity to litigate the issue,” and “the resolution of the issue was

necessary to support a valid and final judgment on the merits.”30 Even if the collateral estoppel

requirements were not satisfied, the Court would reject Intervenors’ arguments as to the latter two

statutory requirements substantially for the reasons explained in its previous order and Petitioner’s

memoranda.31


II.     Intel Factors

                The first Intel factor weighs in favor of SPS’s amended application because Barclays

NY is not a participant in the foreign proceeding.32

        29

                Dkt 34 at 7–16.
        30

                Boguslavsky v. Kaplan, 159 F.3d 715, 720 (2d Cir. 1998) (internal quotation marks omitted);
                see United States v. Hooker Chem. & Plastics Corp., 776 F.2d 410, 411 (2d Cir. 1985)
                (applying collateral estoppel against intervenors who had “participated fully” in previous
                litigation).

                Intervenors contend that Petitioner failed to raise properly a collateral estoppel defense.
                Assuming arguendo that this is correct, this Court nonetheless may base its holding on this
                ground. See Doe v. Pfrommer, 148 F.3d 73, 80 (2d Cir. 1998). The failure of a party to raise
                collateral estoppel does not deprive a court of the power to dismiss a claim on that ground
                particularly where, as here, the estopped party had “an opportunity to respond.” Curry v.
                City of Syracuse, 316 F.3d 324, 331 (2d Cir. 2003); see Dkt 56 at 13–14.
        31

                Dkts 34, 48, 63.
        32

                Dkt 56 at 23 (Intervenors acknowledging that “Barclays NY would not be a party or
                participant in SPS’s contemplated proceeding”).
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                With regard to the second Intel factor, Intervenors argue that the CVM would not be

receptive to the documents obtained via Section 1782 discovery because of the Brazilian equivalent

of the fruit-of-the-poisonous-tree doctrine. Intervenors have not, however, presented the requisite

“authoritative proof” that CVM “would reject evidence obtained with the aid of section 1782.”33

Intevenors provide only a declaration from a Brazilian legal expert that “it is very likely that the CVM

will not conduct an investigation that results from” the SAR.34 But mindful of the Court of Appeals’s

admonition that it is “unwise . . . for district judges to try to glean the accepted practices and attitudes

of other nations from what are likely to be conflicting and, perhaps, biased interpretations of foreign

law,” this Court declines to embark upon a “speculative foray[] into legal territories unfamiliar to

[it].”35 And, as Intervenors acknowledged previously, CVM is “receptive to U.S. federal court judicial

assistance.”36 Accordingly, the second Intel factor tips in Petitioner’s favor.

                With regard to the third Intel factor, Intervenors argue that granting discovery here

would undermine the U.S. policy that SARs are confidential.37 But, as Petitioner explains, “[t]here

is no reason to believe that once the subpoena is issued, Barclays will produce any documents it is



        33

                Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1100 (2d Cir. 1995); see Porsche
                Automobil, 2016 WL 702327, at *8 (noting that courts have found that foreign tribunals or
                courts would not be receptive to their assistance where those bodies have “written to the
                district court hearing the application and expressly stated that [they] did not want the
                American court’s help”).
        34

                Dkt 22 ¶ 50.
        35

                Euromepa S.A., 51 F.3d at 1099–1100.
        36

                Dkt 21 at 18.
        37

                Dkt 56 at 25.
        Case 1:22-mc-00118-LAK Document 75 Filed 03/04/24 Page 10 of 11




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prohibited by law from disclosing.”38       Intervenors argue also that granting discovery would

“circumvent Brazil’s fruit-of-the-poisonous-tree” doctrine.39 Although it is conceivable that discovery

here could amount to “circumvent[ing]” Brazilian “proof-gathering limits” if the discovery materials

actually are fruit-of-the-poisonous tree — a conclusion the Court has not reached — any harm caused

thereby could be remedied readily in Brazil by excluding the resulting evidence.40 The third Intel

factor does not weigh against the amended application.

               Fourth, the proposed subpoena is not unduly intrusive or burdensome, as evidenced by

the fact that Barclays NY has not opposed SPS’s amended application.41

       38

               Dkt 63 at 9–10.
       39

               Dkt 56 at 25.
       40

               See Euromepa S.A., 51 F.3d at 1101 (“Because the French court can . . . simply refuse to
               consider any evidence that [petitioners] gather[] by what might be — under French
               procedures — an unacceptable practice, we do not think that the district court’s concern for
               trespassing upon the prerogatives of French sovereignty should have weighed so heavily
               in its decision.”).
       41

               See In re Aso, No. 19-MC-190 (JGK) (JLC), 2019 WL 2345443, at *8 (S.D.N.Y. June 3,
               2019) (“It appears disingenuous for [intervenor] to protest the burden of the requests
               addressed to the subpoena targets when none of them have intervened . . . .”); In re
               Furstenberg Fin. SAS, No. 18-MC-44 (JGK), 2018 WL 3392882, at *7 (S.D.N.Y. July 12,
               2018) (“The [respondent banks] have not objected to this [Section 1782] application on the
               grounds that the requests are overly broad and/or intrusive, which is strong support for a
               finding in favor of the petitioners on [the fourth Intel] factor.”).

               Intervenors contend also that the proposed subpoena violates Rule of Civil Procedure
               45(c)(2)(A) because it demands production more than 100 miles from where Respondent
               regularly transacts business. Dkt 56 at 27. The 100 mile rule does not preclude discovery
               here. First, Section 1782 commands that discovery ordered pursuant to the section be made
               “in accordance with the Federal Rules of Civil Procedure” only “[t]o the extent that the
               order does not prescribe otherwise.” 28 U.S.C. § 1782. In addition, Respondent is free to
               seek an order pursuant to Rule 26(c)(1)(B) to change the situs of production in the unlikely
               event that the (electronic) production to Petitioner in Omaha, Nebraska proves onerous. It
               is unlikely that such an order will be necessary, moreover, because Petitioner stated that,
               “[a]t the request of the Court or Barclays NY, SPS will provide an address for production
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